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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS

Heather Rudy, individually and on behalf of all                      1:21-cv-03938
others similarly situated,
                                   Plaintiff,                    Hon. Andrea R. Wood

                     - against -

D F Stauffer Biscuit Co Inc.,
                                   Defendant

                             NOTICE OF VOLUNTARY DISMISSAL

         Plaintiff gives notice that this action is voluntarily dismissed with prejudice. Fed. R. Civ.

P. 41(a)(1)(A)(i).

Dated:         May 3, 2023
                                                           Respectfully submitted,

                                                           /s/Spencer Sheehan
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                                                           Great Neck NY 11021
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